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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA
                                                                              Case No. 18-cv-05800
                               Plaintiff,
 V.

 THE WALT DISNEY COMPANY;                                                     ECF CASE
 TWENTY-FIRST CENTURY FOX. INC.
                                    Defendants.


                 IJ!i411 .JJ.?!'1 ORDER FOR ADMISSION PRO HAC VICE
       The motion of Thomas 0. Barnett for admission to practice pro hac vice in the above-

captioned action is granted.

       Applicant has declared that he is a member in good standing of the bars of the District of

Columbia and the State of Maryland; and that his contact information is as follows:


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               Thomas 0. Barnett                      VSDC           .Y
               Covington & Burling LLP
               One CityCenter
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               850 Tenth Street NW                l   r~             . ·,1 ~,.-.. .... LY   H Li.... v   II
               Washington DC 2000 I
               (202) 662-6000
               tbarnett@cov.com
                                                                       fl:     1fto/,~                   i'
       Applicant having requested admission pro lmc vice to appear for all purposes as counsel

for The Walt Disney Company in the above entitled action;

       IT IS HEREBY ORDERED that applicant is admitted to practice Pro Hae Vice in the

above-captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this court are subject to the Local Rules of this Court, including the

Rules governing discipline of attorneys.




                                                                      United States District Judge
